Case 2:21-cv-08125-MWF-AFM Document 5 Filed 11/29/21 Page 1 of 1 Page ID #:27



  1

  2

  3

  4

  5

  6

  7

  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10

 11    RIGOBERTO MELERO AGUIRRE,                  Case No. 2:21-cv-08125-MWF (AFM)
 12
                          Petitioner,
                                                  JUDGMENT
 13
             v.
 14
       UNITED STATES OF AMERICA,
 15

 16                       Respondent.

 17

 18         In accordance with the Order Dismissing Petition For Lack Of Jurisdiction,
 19         IT IS ORDERED AND ADJUDGED that this action is dismissed without
 20   prejudice for lack of jurisdiction pursuant to Rule 4 of the Rules Governing Section
 21   2255 Cases in the United States District Court.
 22

 23   DATED: November 29, 2021
 24

 25
                                            ___________________________________
                                                 MICHAEL W. FITZGERALD
 26                                           UNITED STATES DISTRICT JUDGE
 27

 28
